Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 1 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 2 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 3 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 4 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 5 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 6 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 7 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 8 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 9 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 10 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 11 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 12 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 13 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 14 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 15 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 16 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 17 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 18 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 19 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 20 of 21
Case 8:21-bk-10635-ES   Doc 691 Filed 06/09/22 Entered 06/09/22 10:45:59   Desc
                         Main Document    Page 21 of 21
